                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


CHRISTOPHER MOEHRL, MICHAEL
COLE, STEVE DARNELL, VALERIE
NAGER, JACK RAMEY, DANIEL UMPA,             Case No.: 1:19-cv-01610
and JANE RUH, on behalf of themselves and
all others similarly situated,              Judge Andrea R. Wood

                    Plaintiffs,



  v.

THE NATIONAL ASSOCIATION OF
REALTORS, REALOGY HOLDINGS
CORP., HOMESERVICES OF AMERICA,
INC., BHH AFFILIATES, LLC HSF
AFFILIATES, LLC, THE LONG & FOSTER
COMPANIES, INC., RE/MAX LLC, and
KELLER WILLIAMS REALTY, INC.,

                    Defendants.



            PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR
             EXPEDITED MOTION TO APPROVE THE MANNER
                     AND FORM OF CLASS NOTICE
                                     I. INTRODUCTION

        Plaintiffs Christopher Moehrl, Michael Cole, Steve Darnell, Jack Ramey, Daniel Umpa,

and Jane Ruh, on behalf of themselves and all others similarly situated (“Moehrl Plaintiffs”),

respectfully request that the Court enter an order (a) approving their proposed manner and form of

providing notice of the pendency of this class action to the Damages Litigation Class (“Moehrl

Class” or “Litigation Class”) and (b) appointing a notice administrator.

       Plaintiffs respectfully request expedited approval of this motion by no later than January

31, 2024. In order to reduce costs and avoid confusion to class members, Moehrl Plaintiffs seek to

proceed with their Litigation Class notice program on the same timeline as the Nationwide

Settlement Class notice program recently approved in the related Burnett case, and with the same

notice and claims administrator appointed in Burnett. The proposed notice administrator can

accommodate a parallel timeline if Plaintiffs receive this Court’s approval of their proposed notice

plan by January 31, 2024.

       To maintain the proposed schedule, Plaintiffs respectfully request a January 25, 2024,

deadline for any briefs in opposition to this motion. Defendants Anywhere, RE/MAX, and NAR

do not oppose this requested deadline. Defendants Keller Williams and Home Services have not

indicated their position.

       Plaintiffs contacted all Defendants on the morning of January 16, 2024, seeking their

consent to the form of the notice. After review of the notice forms, and meet-and-confer calls and

correspondence over the past few days, Defendant Keller Williams indicated that it did not object

to the form of the notice, and the remaining Defendants indicated they are continuing to review it.

        The proposed notice plan is described below. It complies with all the requirements of

Federal Rule of Civil Procedure 23. First, the proposed Long-Form, Email, and Postcard Notices




                                                 1
state in concise and easily understood language the nature of the action, the definitions of the

certified classes, how to identify whether the recipient falls in the class, and information about

Litigation Class members’ rights and options at this stage of the litigation. The proposed manner

of notice—direct notice by email or mail, nationwide media campaign, website, phone number,

and QR Code—is comprehensive. The nationwide media effort alone will reach at least 70% of

potential Litigation Class members. The extensive direct notice effort and the additional efforts,

including an internet search campaign, the distribution of a press release, and class action

sponsorships, will further extend reach. The proposed Notice Program is similar to other court-

approved programs and meets the high reach standard set forth by the Federal Judicial Center

(“FJC”).

        An experienced Class Notice administrator, JND Legal Administration (“JND”) supports

the proposed notice plan. 1

                      II.     RELEVANT PROCEDURAL BACKGROUND

        In this action, the Court certified a Damages Class and an Injunctive Relief Class on March

29, 2023. (Doc. 403) The classes are defined as follows:

Damages Class: Home sellers who paid a commission between March 6, 2015, and December 31,
2020, to a brokerage affiliated with a Corporate Defendant in connection with the sale of residential
real estate listed on a Covered MLS and in a covered jurisdiction.

Injunctive Relief Class: Current and future owners of residential real estate in the covered
jurisdictions who are presently listing or will in the future list their home for sale on a Covered
MLS. 2

The Covered Multiple Listing Services or “Covered MLSs” in the Moehrl litigation are 20 MLSs




1
  See Declaration of Jennifer M. Keough (“Keough Decl.”).
2
  Excluded from both Classes are “(i) sales of residential real estate for a price below $56,500, (ii) sales of
residential real estate at auction, and (iii) employees, officers, and directors of defendants, the presiding
Judge in this case, and the Judge’s staff.” (Doc. 403, Mem. Opinion and Order, pp. 53–54).


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spanning all or parts of 20 states.3 In the related action, Burnett, et al. v. The National Association

of Realtors, et al., Case No. 4:19-cv-00332-SRB, pending in the Western District of Missouri

(“Burnett”), the court certified classes of home sellers on April 22, 2022. (Burnett, Doc. 741) The

Burnett classes include consumers who sold homes listed for sale on four MLSs in Missouri.

        Since the time classes were certified in both cases, Plaintiffs from this action and the

Burnett action (together “Plaintiffs”) reached agreements with Defendants Anywhere Real Estate,

Inc. (f/k/a Realogy Holdings Corp.) (“Anywhere”) and RE/MAX LLC (“RE/MAX”) (together the

“Settling Defendants”) to settle, and resolve on a nationwide basis, Plaintiffs’ claims for damages

and injunctive relief against the Settling Defendants for their alleged anticompetitive trade

practices, including the claims in this case and the Burnett case. Moehrl and Burnett Plaintiffs

jointly moved for preliminary approval of the Nationwide Settlements in the Missouri Court. On

November 20, 2023, that Court granted preliminary approval of the Settlements, and provisionally

certified a nationwide “Settlement Class” defined as follows.

        All persons who sold a home that was listed on a multiple listing service anywhere in the
        United States where a commission was paid to any brokerage in connection with the sale
        of the home in the following date ranges:

            a. Moehrl MLSs: March 6, 2015 to date of notice;
            b. Burnett MLSs: April 29, 2014 to date of notice;
            c. MLS PIN: December 17, 2016 to date of notice;
            d. All other MLSs: four years prior to the date a new or amended complaint (if any)
               is filed in the Actions 4 or the date of notice, whichever is earlier, up to the date of
               notice.



3
  The “Covered MLSs” are listed in the Long Form, email, and postcard notice documents, which are
attached as Exhibits B-D to the Declaration of Jennifer Keough in support of this motion. The Covered
MLSs are also listed in the Corrected Memorandum in Support of Plaintiffs’ Motion for Class Certification.
(Doc 306, p. 20, fn.9).
4
  The “Actions” are Burnett, et al. v. National Association of Realtors, et al., Case No. 4:19-cv-003322-
SRB and Moehrl, et al. v. National Association of Realtors, et al., Case No. 1:19-cv-01610-ARW (Northern
District of Illinois).


                                                    3
(Burnett, Case No. 4:19-cv-00332-SRB, W.D. Missouri, Doc. 1321, ¶ 3).

       The Burnett Court further appointed JND Legal Administration as the Settlement

Administrator, and authorized JND to implement the parties’ Class Notice Plan—to send notice of

the settlements to the Nationwide Settlement Class. The Court found that the Notice Plan

constituted “the best notice practicable and satisfied the requirements of due process.” (Burnett,

Doc. 1321, ¶ 9). On January 11, 2024, the Burnett Court further granted the parties’ Unopposed

Motion to Approve Form of Notices. (Burnett, Doc. 1366). The Nationwide Settlement Class

Notice program will proceed on the following timeline:

 Notice Start Date.                                                           2/1/2024

 Deadline for class members to exclude themselves (“opt out”) of the          4/13/2024
 Nationwide Settlements.

 Deadline for class members to object to the Nationwide Settlements.          4/13/2024

 Final Fairness Hearing to consider approval of the proposed Settlements.     5/9/2024

 Deadline for class members to submit a claim form to receive a payment.      5/9/2024

As members of the Settlement Class, Moehrl Class members will receive notice of the Nationwide

Settlements with Anywhere and RE/MAX through the Nationwide Settlement Notice program

described above.

       Moehrl Plaintiffs further seek to direct notice to the Moehrl Litigation Class of the ongoing

litigation. To streamline the Moehrl Litigation Class Notice program, reduce costs, and avoid

confusion to class members, Moehrl Plaintiffs seek to proceed on the same timeline as in Burnett,

and with the same notice and claims administrator appointed in Burnett.

                       III.   THE PROPOSED NOTICE PROGRAM

       The proposed Litigation Notice Program, as described in further detail in the Declaration




                                                 4
of Jennifer Keough, 5 has been designed to provide the best notice practicable. It includes the

following components:

A.        Manner of Notice

          1. Direct Notice – Email and Postcard

          Direct notice to all Moehrl Litigation Class Members for whom the Defendants provide

contact information or for whom contact information is located via other means, including data

obtained from third parties. Direct notice will be by email to all Litigation Class Members for

whom Plaintiffs can identify an email address after reasonable efforts. For those Litigation Class

Members for whom an email address is unavailable or where the email bounces back and cannot

be ultimately delivered, the notice administrator will send a Postcard Notice. 6

          2. Website

          An established shared website that will provide Moehrl Litigation Class Members and

Nationwide Settlement Class Members access to information about both the Nationwide

Settlements with Anywhere and RE/MAX and the ongoing Moehrl Litigation, as well as copies

of relevant case documentation. 7

          3. Phone

          An established shared toll-free telephone number with an Interactive Voice Recording

system (“IVR”) that Litigation and Settlement Class Members may call to obtain more information

about both this Litigation and the Nationwide Settlements, and request copies of the long form

notice for each matter. The IVR recording will be comprehensive. And if operators become




5
    See Keough Decl. ¶¶ 17–73.
6
    See Keough Decl. ¶¶ 22-39.
7
    See Keough Decl. ¶¶61-62.


                                                 5
desired, the notice administrator will accommodate. 8

       4. QR Code

       The notice administrator will create a QR Code (a matrix barcode) that will allow quick

and direct access to the shared website through mobile devices. The QR Code will be included,

where practicable, in printed notice documents (i.e., the postcard, and print publication notices). 9

Litigation and Settlement Class Members will be able to access information about both this

Litigation and the Nationwide Settlements through the QR Code.

       5. Nationwide Media Campaign

       The notice administrator will conduct a robust nationwide media effort that will direct

Litigation and Settlement Class members to the shared website, allowing access to information

about both this Litigation and the Nationwide Settlements. The media effort will target members

of the Settlement Class, which includes all members of the Moehrl Litigation Class. The proposed

campaign includes a targeted digital effort with the leading digital network (Google Display

Network – “GDN”), the top social media platform (Facebook), and a respected programmatic

partner (OMTD); a notice placement in a popular consumer magazine (Better Homes & Gardens);

and additional efforts including an internet search campaign, the distribution of a national press

release, and sponsorships with popular class action websites (TopClassActions.com and

ClassAction.org). 10

B.     Form of Notice

      1. Notice Design and Content

       Each of the notice documents contains easy-to-read summaries of the Litigation and the


8
  See Keough Decl. ¶¶63-64.
9
  See Keough Decl. ¶ 66.
10
   See Keough Decl. ¶¶ 40–60.


                                                 6
options that are available to Litigation Class Members. Additionally, the notice documents provide

instructions on how to obtain more information about the Litigation and the Nationwide

Settlements. Copies of the proposed Long Form Notice, Email Notice, and Postcard Notice are

attached as Exhibits B-D to the Declaration of Jennifer Keough. The Keough Declaration is

attached as Exhibit 1 to this Memorandum.

       The Litigation Long Form Notice will be posted on the Litigation section of the shared

website and will be available by mail if requested. It provides details regarding, among other

things, the nature of the action, who is in the Litigation Class, general descriptions of the claims

asserted and relief requested, references to the defenses of the Defendants, and the right of

Litigation Class Members to obtain counsel or exclude themselves from the Litigation. The

Litigation Long Form Notice provides details regarding how and when to opt out, and how and

where to seek additional information. The Long Form Notice was used as the basis to create the

summary forms of notice: Email Notice and Postcard Notice. These Short Form Notices provide,

among other things, a summary of what the lawsuit is about, who is affected, how to opt out, and

how and where to obtain more information.

       To the extent that some Litigation Class Members may speak Spanish as their primary

language, the print notice documents include a subheading in Spanish at the top directing Spanish

speaking Litigation Class Members to visit the website for a notice in Spanish.

       2. Opt-Outs

       Any Damages Litigation Class member may opt out of the Damages Class. The Long Form

Notice includes instructions regarding how to opt out, and the deadline to do so.

       3. Exclusion (Opt-Out) Date

       The proposed forms include an exclusion (“opt-out”) deadline of April 13, 2024. Plaintiffs




                                                 7
propose that the Litigation Notice Plan proceed along the same timeline as the Nationwide

Settlement Class Notice Plan, with a Litigation Notice Start Date of February 1, 2024, and an

Exclusion Deadline of April 13, 2024. To allow sufficient time for best practicable notice,

Plaintiffs will adjust these dates based on the date the Court approves the Notice Plan, such that

the Exclusion Deadline will be set at 72 days following the Notice Start Date. Plaintiffs will update

the proposed notice forms accordingly after the Notice Plan is approved.

                                         IV.     ARGUMENT

A.      The proposed form of notice complies with Rule 23.

        Federal Rule of Civil Procedure 23(c)(2)(B) provides that, for any class certified under

Rule 23(b)(3), “[t]he notice must clearly and concisely state in plain, easily understood language:

(i) the nature of the action; (ii) the definition of the class certified; (iii) the class claims, issues, or

defenses; (iv) that a class member may enter an appearance through an attorney if the member so

desires; (v) that the court will exclude from the class any member who requests exclusion; (vi) the

time and manner for requesting exclusion; and (vii) the binding effect of a class judgment on

members under Rule 23(c)(3).” 11

        The proposed forms of notice satisfy each of the Rule 23(c)(2)(B) requirements. The Long

Form Notice mirrors those recommended by the Federal Judicial Center 12 and succinctly describes

the litigation, the parties’ primary claims and defenses, and the two certified classes in concise,

easily understood language. The notice also includes a chart that clearly sets forth the options

available for class members and the deadline for submitting an exclusion request. The Long Form




11
   See also Gehrich v. Chase Bank USA, N.A., 316 F.R.D. 215, 232 (N.D. Ill. 2016) (approving notices with
form and content that is straightforward and satisfied the Federal Judicial Center's guidelines).
12
      See     “Class     Action     Forms     &      Notices,”     FEDERAL        JUDICIAL        CENTER,
https://www.fjc.gov/subject/class-action-forms-notices (last visited January 8, 2023).


                                                     8
Notice will be published to the case website. The Email and Postcard Notice are short forms of

notice that provide summary information about the lawsuit, provide key information and the

exclusion deadline, and direct potential class members to the case website, where they can obtain

additional information.

        Because all Moehrl Litigation Class Members are also eligible to participate in the

Nationwide Settlements, the Litigation Notice also includes certain information about the rights of

Nationwide Settlement Class Members. The Litigation Class Notice program includes information

and deadlines regarding the rights of potential class members to participate in or opt out of the

Litigation Class, the Settlement Class, or both. It includes information and deadlines regarding

Settlement Class Members’ rights to submit a claim, object to, or opt out of one or both of the

Nationwide Settlements with Anywhere and RE/MAX. And it directs potential members of the

Nationwide Settlement Class to the shared website with more complete notice and information

regarding the Nationwide Settlements.

        Because the Litigation Class Notice forms clearly and fairly appraise class members of the

nature of this class action and the scope of their rights, they should be approved.

B.      The proposed manner of notice complies with Rule 23.

        Rule 23(c)(2)(B) requires that notice of a class action certified under Rule 23(b)(3) be the

“best notice that is practicable under the circumstances, including individual notice to all members

who can be identified through reasonable effort.”13 This does not mean actual notice must reach

every class member.14 Best notice practicable means “individual notice to all members who can




13
  Fed. R. Civ. P. 23(c)(2)(B); Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 177 (1974).
14
  See Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 313–14 (1950) (“A construction of the Due
Process Clause which would place impossible or impractical obstacles in the way could not be justified.”);
see also Shurland v. Bacci Cafe & Pizzeria on Ogden, Inc., 271 F.R.D. 139, 144 (N.D. Ill. 2010).


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be identified through reasonable effort.” 15 When individual notice is not possible, “courts may use

alternative means such as notice through third parties, paid advertising, and/or posting in places

frequented by class members, all without offending due process.” 16

        In this case, the notice administrator will email or mail direct notice to all Litigation Class

Members for whom email or United States mail addresses can be obtained from Defendants or

third parties through reasonable efforts. Such Litigation Class Members will receive the Short-

Form Notice (email or postcard) that contains a summary of relevant information about the lawsuit,

a toll-free number, and a link to the case website. The case website will include the Long Form

Notice, which will provide more detailed information. To extend the reach of the Notice Plan for

home sellers, the notice administrator will conduct a comprehensive nationwide media campaign,

as detailed in the Declaration of Jennifer Keough at ¶¶ 40–60.

        The comprehensive notice program satisfies the requirements of constitutional due process

and Rule 23(c)(2)(B), and should be approved.

C.      JND Legal Administration (“JND”) is well-qualified to serve as notice administrator.

        JND is well-qualified to serve as notice administrator in this case. 17 JND has been

recognized by various publications, including the National Law Journal, the Legal Times, and the

New York Law Journal, for excellence in class action administration. JND was named the #1 Class

Action Claims Administrator in the U.S. by the national legal community for multiple consecutive

years. JND was also recognized last year as the Most Trusted Class Action Administration



15
   Eisen, 417 U.S. at 173; see also Gehrich, 316 F.R.D. at 231-32 (citing Mullins v. Direct Digital, LLC,
795 F.3d 654, 665 (7th Cir. 2015)); Manual for Complex Litigation § 21.311 (4th ed. 2004) (“Rule
23(c)(2)(B) requires that individual notice in 23(b)(3) actions be given to class members who can be
identified through reasonable effort.”).
16
   Mullins, 795 F.3d at 665-66; Hughes v. Kore of Indiana Enters., Inc., 731 F.3d 672, 676-77 (7th Cir.
2013).
17
   See Keough Decl. ¶¶ 1–11.


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Specialists in the Americas by New World Report (formerly U.S. Business News) in the

publication’s 2022 Legal Elite Awards program. 18

          JND is an approved vendor for the United States Securities and Exchange Commission

(“SEC”), the Federal Trade Commission (“FTC”), and the Consumer Financial Protection Bureau

(“CFPB”). JND was appointed the settlement administrator in the $1.3 billion Equifax Data Breach

Settlement, where more than 18 million claims were received. 19 Further, as discussed above, JND

is currently serving as the Settlement Administrator in the proposed Nationwide Settlements, in

connection with the Burnett action and this action. Thus, JND is highly qualified and well

positioned to serve as notice administrator for the Moehrl Litigation Class.

                                      V.      CONCLUSION

          For these reasons, Moehrl Plaintiffs respectfully request that the Court approve the

Proposed Litigation Notice Plan, authorize distribution of notice to the certified Damages

Litigation Class, and appoint JND as notice administrator.

          Plaintiffs further request that the Court authorize the Litigation Notice program to begin

on February 1, 2024, and the deadline for Litigation Class Members to request exclusion to be set

for April 13, 2024.

          If the Court does not approve the form and manner of class notice by January 31, 2024,

then Plaintiffs instead request that the Court authorize the Litigation Notice program to begin no

later than 14 days after the date the Court enters an order approving the proposed notice plan; and

the deadline for Litigation Class Members to request exclusion to be set at 72 days following the

Notice Start Date.



18
     See Keough Decl. ¶5.
19
     See Keough Decl. ¶4.


                                                 11
Dated: January 19, 2024

 Co-Lead Counsel for Plaintiffs

 /s/ Robert A. Braun

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                                       13
                                 CERTIFICATE OF SERVICE

       The undersigned attorney of record hereby certifies that on January 19, 2024, a true and

correct copy of the foregoing was electronically filed using the Court’s CM/ECF system, which

caused notice to be sent to all counsel of record.

Dated: January 19, 2024                       By: /s/ Robert A. Braun
                                                     Robert A. Braun




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